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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                      Case No. 07-80138-CIV-MIDDLEBROOKS/JOHNSON


  SAMIRA SULLIVAN, on her own behalf
  and others similarly situated,

         Plaintiff,

  v.

  LANA MARKS LTD., INC., a Florida
  corporation, and LANA MARKS, individually,

        Defendants.
  ______________________________________/

                                               ORDER

         THIS CAUSE comes before the Court upon a sua sponte review of the record in this case.

  I have reviewed the file and am fully informed in the premises.

         This is a Fair Labor Standards Act case that was filed on February 14, 2007. Plaintiff

  moved for a default, but before one was entered, the Clerk’s Office received a letter sent by

  Defendant Lana Marks which stated that she was aware of this case and would hire an attorney as

  soon as possible. Ten days later, a Notice of Appearance was entered by defense counsel, Eric

  Andrew Gordon and Melissa S. Zinkil, of Akerman Senterfitt & Edison. DE 8. Defense counsel

  then filed two motions for extensions of time to respond to the complaint, but before filing a

  responsive pleading, defense counsel moved to withdraw. This request was granted. In the order

  granting defense counsel’s motion to withdraw, Defendants were informed that they must be

  represented by counsel, but no date certain was given as to when they must secure counsel. I

  again remind Defendants of the need for counsel in this action.

         While Defendant Lana Marks, individually, can proceed pro se, a corporation must be
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  represented by an attorney in any action in federal court, and cannot appear or file pleadings pro

  se. See Palazzo v. Gulf Oil Corp., 764 F.2d 1381 (11th Cir. 1985). The Court directs the

  Defendant corporation to submit a proper answer through legal counsel or a default judgment

  may be entered against Defendant. Defendant Lana Marks must also submit a responsive

  pleading or risk default judgment. The Defendants are further instructed that the Court has no

  legal authority to appoint counsel for the Defendants. The deadline to file a response to

  Plaintiff’s Complaint is June 25, 2007 in accordance with Judge Paine’s May 23, 2007 Order.

  Defendants have already been given two extensions of time. I am not inclined to grant further

  extensions absent compelling circumstances.

          Accordingly, it is hereby

          ORDERED AND ADJUDGED that Defendant Lana Marks Ltd. shall file a proper

  answer through legal counsel on or before June 25, 2007. Defendant Lana Marks shall file a

  responsive pleading on or before June 25, 2007, either through legal counsel or pro se. Should

  Defendant Lana Marks desire to proceed pro se, she must file a notice stating such intention on

  or before June 25, 2007.

          DONE AND ORDERED in Chambers at West Palm Beach, Florida, this 19th day of June

  2007.



                                                       ___________________________________
                                                       DONALD M. MIDDLEBROOKS
                                                       UNITED STATES DISTRICT JUDGE
  Copies to:     counsel of record
                 Lana J. Marks
                 Lana Marks Ltd., Inc.
                 125 Worth Avenue, Suite 221
                 Palm Beach, FL 33480
